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                       United States v. Hadden,
                        S2 20 Cr. 468 (RMB)




             EXHIBIT B
               (Victim Impact Statements (Sentencing))




  EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                        [REDACTED COPY]




                        Filed: June 20, 2023
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                                                                                     Exhibit B at 1
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                                                                                     Exhibit B at 3
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                      Victim Impact Statement for Robert Hadden Sentencing
                                    From Robyn Bass Lavender

                By email to USANYS.HaddenSentencing@usdoj.gov – May 29, 2023


Dear Judge Berman,

Thank you for giving me an opportunity to share how I have been personally impacted by the crimes that
Robert Hadden committed.

I was one of Robert Hadden’s patients for almost 15 years. He was my first gynecologist, and he delivered
my first child. I had approximately 50 medical appointments with him over the years, all of which
contained some element of predatory grooming and sexual abuse. It’s not an easy thing to process how
my doctor – who I trusted with my life and the life of my child – abused his power and repeatedly took
advantage of his position and my vulnerability for his own deviant desires.

It is still impossible for me to comprehend that I was groomed for years by a sexual predator who was
hiding behind (and protected by) the prestige of Columbia University, his medical degree, his colleagues,
and his white coat. I am still coming to terms with what Robert Hadden did, and I am still sorting through
the preposterous things he convinced me to believe. I am still struggling to understand how I became the
victim of sexual abuse, how I so terribly misjudged my situation, and how I didn’t realize what was
happening to me.

Now that I know that my own doctor sexually abused me for years, I cannot possibly trust my choices or
other people in the same naïve way I did before. If this could happen to me once, maybe it will happen
again. If my decision making was so wrong once, maybe it will be again. Robert Hadden has caused me to
forever question my judgment and has left me unable to fully trust my doctors.

I don’t think anyone believes that there’s any chance that Robert Hadden can be rehabilitated, lead a
productive life, or contribute to society in any positive way. His crimes have had a direct impact on the
hundreds (and, more likely, thousands) of women who he abused. All of us, and our families, have been
irreparably harmed by him.

Robert Hadden got away with his horrific crimes for far too long. He needs to be held accountable for the
immeasurable harm that he inflicted. He deserves to be punished to the maximum extent that the law
allows, and I sincerely hope you will do that when you sentence him in July. His sentence needs to send a
clear message to all sexual predators (and their protectors) that this criminal behavior is not going to be
overlooked, swept under the rug, and hidden any longer. Sentencing Robert Hadden to the maximum
allowable time is the only way to effectively send that message.

Thank you for providing a forum for me to be heard and for treating all the victims with respect, dignity,
and compassion throughout the case. I am incredibly appreciative of all that you, and everyone involved
in bringing this case to justice, have done.

Sincerely,


Robyn Bass Lavender




                                                                                           Exhibit B at 4
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August 6, 2023
Jane Kim


                                Personal Impact Statement

The list that follows summarizes the impact of this case on my life due Hadden's actions:

1. Sought counseling services from multiple psychologists to deal with the depression and
anxiety associated with my experience.
2. Trauma and depression from this case were one of the main reasons for the downfall of my
first marriage which led to divorce.
3. Continuous anxiety when seeing physicians in the ordinary course of my life over the last 11
years.
4. The stress and anxiety was one of the major issues that prevented me from conceiving children
in my current marriage, to the point where I had to spend over $100,000 on IVF procedures
multiple times to conceive my children.
5. Continuous need for depression and anxiety medication which has been taken on a daily basis.

With regard to my participation in the prosecution and Hadden case, my major involvement has
been as follows:
1. One of the original 4 claimants in the Hadden case, involved in the litigation and prosecution
for roughly 12 years.
2. Met in person with the NY District Attorney Prosecutors' office during Hadden's original
prosecution roughly 3-4 times.
3. Testified in front of the Grand Jury in Hadden's original prosecution.
4. Compounded stress and anxiety by the NY Prosecutor's office to let Hadden off with an
effective "slap on the wrist" as a result of his initial NYS prosecution.
5. Interviewed by Federal Prosecutors and FBI on multiple occasions.
6. Deposed in person by Columbia's lawyers on multiple occasions.

I would appreciate the consideration of all of the above factors in any decisions that are made
considering his sentencing.
I am available to answer any additional questions the court might have.

Thank you very much.




                                                                                    Exhibit B at 5
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                                                           Exhibit B at 6
   Case 1:20-cr-00468-RMB Document 296-3 Filed 06/20/23 Page 8 of 70

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practice, then hung up on him. I couldn’t believe he had called me, that he had my phone
number and, obviously, must have my address too. This perverted and powerful man
had been thinking about me over the past week. Fantasizing, what?

In the aftermath of my encounter with Hadden, one of the things I felt most bothered by
was his decision to begin abusing me at my very first (and, thankfully, only)
appointment. The reason this bothered me was that he was so smooth in his
examination style, so practiced in his maneuvers outside of normal protocols that I
knew he had to have molested many many patients; he seemed exceptionally well
practiced, an expert at deviant behavior in an exam room. And it seemed to me that if he
treated every patient he saw on the first appointment the way he had treated me he
simply wouldn’t have many patients. He’d have a drastically limited practice because,
while he might fool some patients, he wouldn’t fool all that many and they wouldn’t
come back. I reasoned he had to slowly draw them in. But he had not waited to draw me
in.

Why had he chosen to assault me immediately upon making my acquaintance? Why had
he telephoned me? What was it that made me seem such an appealing target.



                  What had made Hadden look at me and, apparently, instantly think
he’d found his ideal victim? Was I wearing some kind of invisible sign that said Rape me?

I still wonder that. And I feel, at times, still, although I know it is irrational, guilty for
whatever about me betrays all women by appearing weak or naive . . . or whatever. I
know I am not naive and wasn’t then, nor would many people ever call me weak, but
something about me, when I stop and think, still feels wrong, inescapably wrong, in a
way I can’t define.

I was haunted by those thoughts during my pregnancy and by a feeling of exposure and
shame. I was continuously depressed during those months, but I knew I still had to
write my letter of complaint. Otherwise, if no one who could complain did so, many
other women would be forced to suffer completely unnecessarily from an experience
like mine. I can’t describe how I shrank into myself again and again, cringing and
sobbing while keyboarding and revising that letter. When I’d finished my work, the
doing of which constituted a true ordeal, I wouldn’t even let my husband read it. I
usually save a copy of all my correspondence—I consider it an ironclad rule—but I
couldn’t bear to save a physical copy of that letter that could conceivably be read by my
children or other family at some distant future date, so I finally saved it to the hard drive
of my computer with the label “Hadden.” Nobody, I figured, would ever go searching an
old computer hard drive, but at least I hadn’t erased it.

(That letter proved to be a key piece of evidence in developing the civil case against
Columbia and, as I understand it, in helping federal prosecutors establish the probable
cause they needed for search warrants of Hadden’s records and home.)



                                                                                   Exhibit B at 7
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Just a few days after I had my baby I received a reply to my letter from Columbia
Presbyterian’s acting head of obstetrics and gynecology, Dr. Harold Fox. He assured me
that he took my complaints very seriously and would be talking with Dr. Hadden right
away. He emphatically promised to get back to me soon.

Only he never got back to me. Instead, I was left to wonder how Dr. Hadden had
destroyed my credibility, what he’d said about me that made Dr. Fox now too
embarrassed or uncomfortable to speak with me, too embarrassed or uncomfortable by
what he’d have to tell me about myself, about why he’d determined I was not, after all, a
credible witness to my own experience. I felt beyond humiliated.

Was it that I had found my former obstetrician less than comforting when I developed
hyperemesis and other complications during my first pregnancy and so, in addition to
needing someone closer to home, had planned to leave her practice for a new doctor?
Was it that I’d admitted to a serious but short bout of postpartum depression after my
first baby’s birth? Was it my conservative, extremely modest manner of dressing? Was it
the fact that I am from      ? That I’d had a previous LEEP procedure?

What had Hadden said to Dr. Fox about me? He must have used one or more of these
facts to convey an idea of who I was, what kind of person I was, that was inaccurate but
nonetheless damning: I was easily put off or offended by doctors. I was mentally unstable.
I was probably a Mormon and sexually backward; indeed my way of dressing conveyed a
repressed or paranoid, heavily cloaked sexuality—of course I’d been offended by a
gynecological exam. I was naive, particularly about medical practices. Or maybe he had
mentioned the LEEP as a sort of aside, or perhaps he’d held it in reserve should he need
it if he had to face me—surely a Mormon woman wouldn’t want to discuss the
likelihood of her having HPV with a crowd of male doctors at a medical hearing.
Somehow I’ve always felt my having had a LEEP procedure increased my appeal to
Hadden, either in itself (I decades later learned he performed numerous unnecessary
LEEPs on at least one woman) or as a potential form of blackmail.

What I learned from all this was a behavior that stayed with me for at least twenty years
or more, that of hiding information that ought rightly have been shared with doctors. I
have a complex medical history, but it has been my practice to hide what happens or is
discovered in one medical office with one doctor from any other doctor that attends me.
In recent years, the sharing of computer records has become very common among
physician groups and the state’s main hospital organization, so that practice has
collapsed—and no harm done—but for years it caused me stress just keeping straight
what one doctor did or did not know and should or should not be made aware of
concerning my health or experiences relevant to my health. I had this perpetual feeling
that doctors huddled behind patient’s backs, finding ways to dismiss them, not only as
patients but as people with valid knowledge of their own bodies and their own lives. If I
couldn’t prove with overwhelming evidence that I had a valid medical concern, I stayed
quiet about it. In 2003, that practice landed me in an ER with a 100% blockage of my




                                                                             Exhibit B at 8
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left kidney by a stone that resulted in excruciating hydronephrosis and a ruptured
kidney—during my oldest child’s high school graduation ceremony.

I also avoided seeing male gynecologists, something that caused me great trouble when
I had a positive pap test (administered by a female GP) in          and required a second
cervical biopsy and LEEP procedure.                  where I lived, had no female
gynecologists at this time and I was forced to see a man. The two procedures were so
psychologically upsetting I vowed that if I ever had another bad pap smear I would opt
for a hysterectomy—major surgery—rather than undergo these office procedures again.
I was supposed to get a pap test at least once a year because of my previous positive
test, but I often put it off for two or even three years (cervical cancer grows slowly), only
getting the test because I had children and, for their sakes, couldn’t afford to die of a
curable disease.

Going to the gynecologist always robbed me of three days—a day of dread, the day of
the appointment and general swamping by shame and feelings of violation and
exposure, and a day to recover from the ordeal. During this time I never processed my
experience in Hadden’s exam room with anybody, neither with my husband (whom I’d
told about the predatory exam when it happened) nor with a friend, nor with a
therapist. Rather, I kept all of it private. It didn’t even occur to me that talking about
these unspeakable things might help me feel better.

The worst fallout from my appointment with Robert Hadden, though, didn’t occur until
roughly fifteen years after the event.




                                     Mostly what I wanted was for my face not to be
visible to my husband because tears would be coming from my eyes; sometimes I could
keep from sniffling, but not very well. Often, I would choke on an awful stifled but
clearly audible sob. I’m sure my husband knew each time I was swamped in tears, but
we pretended to one another, for our own reasons, that he didn’t know.

I felt like my voice was paralyzed.
                                                                    I could say nothing.




                                                                My second child once said,



                                                                               Exhibit B at 9
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                                                                                            5

“Something is wrong with our house. It is like the air weighs too much.” But I couldn’t
say anything other than, “We have too much illness.”

Nothing can restore that time or heal the sadness of those years—

                                            Of all my regrets in life, those years contain the
greatest ones because I take the blame for my inability to dislodge Hadden from my
mind                                                                         . In recent years
I’ve tried to begin anew, but I can neither give those years back to my husband, nor, even
worse, to our children who grew up in an atmosphere that felt, in some ways, practically
suffocating to us all.

Then came January 2020 when I happened to watch a short news clip about Evelyn Yang
suing a doctor or hospital over a sexual assault when she was pregnant. And that doctor
was Robert Hadden. I sent an email to a reporter who’d written about Yang’s case,
asking for the name of Yang’s attorney. That is how I was introduced to Anthony
DePietro. I told him he might be interested in the letter from Dr. Harold Fox that I had
saved all these years and told him my original letter of complaint to Dr. Fox was
somewhere on a hard drive stored on my property. If he had the means to look for Fox’s
letter among boxes of my papers, and to search ancient hard drives, he was welcome to
do so.

My outrage at learning that Hadden had been allowed to practice an additional eighteen
years after receiving my letter was extreme. I had suffered the writing of that letter for
the express purpose of helping prevent, for as many women as possible, the sexual
violation I had experienced on Hadden’s exam table. I have since met some of the
women I would have saved such grief and I am overcome by how unnecessary all this
trauma has been; the women are all much younger than I and my feelings for those I’ve
met are, more than anything, maternal, protective. Dozens and dozens of women I could
perhaps have done more to preserve from such injury: couldn’t I have sought out Dr.
Fox, in person, at the hospital and demanded some kind of action? Couldn’t I?

Since that time, I appeared on CNN to help publicize the discovery of the letters and the
lawsuit against Columbia, and after my appearance an additional 130 or more women
eventually came forward, so that personal exposure was well worth the pain. I also
underwent a two hour interview by the FBI in which I was again required to discuss in
great detail my experience with Hadden, but that facilitated opening the criminal case
against him and again justified the pain.

During much of 2020 I had Hadden so constantly in my mind I would start crying at
what seemed to be nothing, was nothing. Just tears would suddenly come. And then
every old and bad memory seemed repeatedly brought to the surface. I had to answer
questions verbally from my lawyer, TV reporters and prosecutors, and fill out a detailed
questionnaire for the lawsuit and last year write a similarly detailed letter to the Special
Master appointed in that suit. I have pondered appearing publicly in court on the day of
Victim Impact Statements but have decided to write privately to you instead.



                                                                              Exhibit B at 10
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                                                                                        6


Robert Hadden is a serial sex predator. I can’t see any reason he should be treated
differently by the criminal justice system from a man who has broken into hundreds of
homes or overtaken hundreds of women walking alone in a dark to rape or otherwise
violate and terrorize them. And he has done it thousands of times with women the law
knows of and others who either feel they can’t bear to come forward or who have no
knowledge of this case or the ongoing civil suits, which have not been highly
publicized—I would never have known anything about the civil action had I not
happened to see a random four minute segment of the news with Evelyn Yang on
Youtube.

Indeed, it seems to me that Hadden is in some ways worse than the criminal predator
who lurks in the dark. He has undertaken his myriad forms of sexual battery under the
cover of institutional approval and recommendation, gaslighting his victims so they
believe any injury or shame or confusion they feel belong to them and are based on
imaginary assaults to their bodily autonomy. Functioning in a position of highest trust,
he has, in great measure, shredded every reason a woman might have to trust any male
conducting a gynecological exam.

Trust forms the foundation of our social order. We must trust schools to teach real
mathematics, the actual alphabet, validated science; we must trust that money we use to
engage in trade is backed by things of real value—worker capacity, material goods,
property, services; we must trust the people who engineer roads and bridges and
buildings if we’ve to use or live in these structures; we must trust our spouses and
parents and children to remain bonded with us in mutual protection and nurture; we
must trust police to protect and not murder; we must trust air traffic controllers and
pilots to ensure planes don’t collide but fly safely from point to point; we must trust
legislators to enact just laws and judges to interpret and enforce them fairly; we must
trust physicians not only to have mastered medical knowledge and skills but to exercise
their powers for our health and wellbeing, never for prurient gratification.

Any betrayal of the innumerable forms of trust we must grant to others if society is to
continue its proper functioning tears at the social fabric, working to weaken our willing
and orderly participation in the everyday world of communities and even nations. In
America trust has waned in the institutions that used to be foundations of the social
order. On many sides, we see trust broken and our social fabric appears dangerously
frayed. By writing a Victim Impact Statement I am saying I will not retreat but will
continue to participate in the life that all of us inescapably share, knowing that our
criminal justice system is yet another institution requiring my trust—and daring to
believe that my trust will not be misplaced.

I am sincerely yours,




                                                                           Exhibit B at 11
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June 20, 2023

Judge Richard S. Berman
U.S. District

Subject: Impact Statement - Sentencing of Dr. Robert Hadden

Your Honor,

I am writing to provide a victim impact statement in the case of Dr. Robert Hadden, who has been found
guilty of abusing patients, myself included. It took many tears and a ton of courage to walk into that
courtroom, stand in front of him, and testify. I was so ashamed and embarrassed… saying out loud what
he had done to me was overwhelming. As a victim of his heinous actions, I would like to express the
profound and lasting impact his abuse has had on my life and the lives of others. It is my hope that by
sharing my experience, you will gain insight into the devastation caused by Dr. Hadden and consider the
significance of a just and meaningful sentencing.

When I sought medical care from Dr. Hadden, I placed my trust in his expertise, believing that he would
act in my best interests and provide the necessary care. Instead, he took advantage of my vulnerability,
exploiting his trusted position to subject me to unspeakable abuse. The physical and emotional trauma
inflicted upon me has left deep scars that continue to affect my daily life.

The abuse I experienced shattered my sense of self-worth, I was tortured by the thought for years that I
was the only one, that I did something wrong. Then the guilt that washed over me when I learned how
many victims fell prey to him. I tortured myself again, thinking I could have stopped him if only I had not
been so ashamed, devastated and scared. This abuse ignited in me the inability to trust other, and
feelings of powerlessness. It has impacted my relationships, causing strain with loved ones who struggle
to understand the depth of my pain. I have suffered from anxiety, nightmares, and a fear of medical
settings, which at one point severely limited my ability to seek the necessary care and support for my
ongoing health needs.

Dr. Hadden's abuse has not only affected my life, but the lives of countless others who have fallen victim
to his despicable acts. We share a common bond of pain and trauma, united by the knowledge that our
trust was violated by someone we believed would prioritize our well-being. The aftermath of his actions
has resulted in a loss of faith in the medical system and a profound sense of injustice.

Your Honor, I implore you to consider the devastating consequences of Dr. Hadden's actions when
determining his sentencing. The impact of his abuse extends far beyond physical and emotional harm; it
has shattered lives, fractured trust, and caused immeasurable suffering. It is my sincere hope that you
will deliver a sentencing that reflects the severity of his crimes, prioritizes the well-being of the victims,
and sends a resounding message that such acts of abuse will never be tolerated.




                                                                                             Exhibit B at 12
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Thank you for your attention to this matter and for providing me with the opportunity to share my
perspective. Your honor, I trust in your wisdom and commitment to justice, and I hope that the
sentencing of Dr. Robert Hadden will bring some measure of closure and healing to myself and the other
survivors.

Sincerely,




                                                                                      Exhibit B at 13
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position of extraordinary privilege demands nothing less than holding him accountable to the
fullest extent of the law. I trust that you will use your powers to do just that. His actions - against
even just one person - require nothing less.

I have now witnessed Hadden in two different courts; something only a tiny fraction of victims of
sexual assault get to see. I was there when he pleaded guilty in state court and I was in your
courtroom when the jury found him guilty on all counts. Both of these times were not for the
crimes he committed against me. And, because of antiquated statutes of limitation and the
framework of our justice system, I will never have that opportunity. I have made my peace with
that and consider my public facing efforts to hold Robert Hadden accountable an incredible
accomplishment.

The world has finally seen a fuller picture of Hadden’s decades of sexual abuse and the
institutional cowardice that protected and enabled him for so long. His former employers and
enablers continue to evade any real accountability. I will never stop working to correct the
system that harms those it is meant to protect. While this verdict and your forthcoming sentence
cannot undo the harm that Hadden and his employers caused hundreds of women and girls
over decades, it does send a strong message that what happened was wrong and that
survivors’ voices do matter. The shame is his and his enablers to carry.

It is critical that Hadden’s sentencing reinforces these messages - for the four women covered in
this indictment, for the hundreds of women who’ve come forward to say he abused them too, for
the thousands of former patients we’ve yet to hear from and may never know. Every single
survivor matters. We matter regardless of the extent of his abuse, regardless of our reaction or
journey to healing, regardless of any outcomes or punishments.




                                                                                       Exhibit B at 15
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                                                           Exhibit B at 16
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U. S. Attorney’s Office
Southern District of New York
One St. Andrew's Plaza New York, NY 10007
ATTNր Lara Pomerantz, AUSA
USANYS.HaddenSentencing@usdoj.gov
Please email or mail all statements by June 1, 2023



May 31, 2023

The Honorable Richard M. Berman
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

Dear Honorable Richard M. Berman.,

Thank you for allowing us, the victims, the opportunity to have our voices heard.

In       I graduated from college and moved to New York City as a young 21-year-old woman.
After months of waitressing, I began a full-time job, where I asked colleagues for gynecologist
recommendations. As I was new to the city and had no previous experience selecting a doctor of
this kind, I relied on referrals.

Dr. Robert Hadden was a name provided, accompanied by assurance that his association with
Columbia Presbyterian, “one of the best ob-gyn departments in NYC”, made him an in-demand
“top doctor”. I was able to make an appointment and thus began a decade’s worth of grooming,
physical, emotional, and psychological abuse.

I have since battled extreme depression, anxiety, panic attacks and continue with trauma therapy.

The grooming first began by giving me free birth control pills as “I was young” and “he wanted to
help me save money.” That was followed by offering to be my dermatologist, again, under the guise
of helping me “save money and time.” Triggered almost daily, I can see the images of him bending
me over, naked, to conduct ‘mole checks’ or ‘spine checks’ while tracing my body with his bare
hands or sometimes with a pen-like device. I remember the extremely painful and intrusive vaginal
and anal exams due to a “backward-tipped uterus” or “wanting to be thorough.”

During every appointment, there were moments when I would be left alone in the room with Dr.
Robert Hadden. I remember the countless, prolonged, and unnecessary breast examinations while
asking me questions about my life, attempting to normalize his behavior. Afterward, he would
always ask me to follow him into his office, where he would comment on my body or ask intrusive
questions regarding my private sexual life, all while writing the prescriptions I needed from him
before I could leave.




                                                                                    Exhibit B at 17
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                                                           Exhibit B at 18
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Victim Impact Statement,                      on May 31, 2023

U. S. Attorney’s Office
Southern District of New York
One St. Andrew's Plaza New York, NY 10007
ATTN: Lara Pomerantz, AUSA
USANYS.HaddenSentencing@usdoj.gov

Dear Honorable Judge Richard M. Berman,

I attended Hadden’s criminal trial and shortly after the jury’s guilty verdict, I gave testimony
that Robert Hadden sexually assaulted me two days before the birth of my first-born son. The
experience being in the courtroom and giving testimony was emotionally intense and powerful.
I was surrounded by incredibly brave women that came forward and inspired me to do so. It
was the first time I was using my voice and speaking out publicly on sexual assault. I’m grateful
for this opportunity to heal and to hold Hadden accountable for his actions. I felt heard,
validated, and supported –that my story and the collective voices of women survivors of sexual
assault truly mattered. Hadden was given a plea deal in 2016, but that didn’t happen this time.
This time, justice was served and survivors rejoiced.

I’m submitting a written victim impact statement to the court because I understand that
survivors’ stories can influence the sentencing proceedings. The main concern that I would like
to bring to the court’s attention, that was not addressed in the trial, is that Hadden physically
harmed his patients. Hadden is a sadist who enjoys inflicting pain and harm on women, of
sexual nature, and especially those most vulnerable. My statement supports that Hadden
inflicts pain and harm on others; and therefore, should receive the maximum sentence.

Robert Hadden was my first OBGYN, I started seeing him in my mid- 20’s and was his patient for
nearly ten years. I trusted Hadden with my health and wellbeing. I trusted him with my annual
women’s health exams, one pregnancy that resulted in a miscarriage, and one successful
pregnancy. I chose Hadden as my OBGYN because I was impressed with his credentials and
Columbia University’s prestige. Hadden was “a sexual predator in a white coat” and used his
position to build trust with his patients so he could harm them. He told me that his mentor’s
team discovered the RhoGam shot in the 1960s which made it possible for women like me, that
were Rh negative to have successful pregnancies that might have otherwise resulted in
miscarriages. I was vulnerable because I was young, unaware of the standard of OBGYN care,
and I really wanted to have a child after a miscarriage. Hadden made me believe that he was
the only OBGYN that I could ever trust.

Over the years, Hadden used several grooming tactics. He informed me that my uterus tilted
back and that he would have to “reach further to properly exam me”. He asked me probing
questions about anal sex. I had a miscarriage (approximately       ) and Hadden administered a
D&C surgery while I was under anesthesia. I was emotionally distraught and he would comfort
and say “the silver lining is that you can get pregnant” and gave me the confidence that I would



                                                                                   Exhibit B at 19
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have a successful pregnancy under his care. In        , I became pregnant and saw Hadden for
more than sixteen visits. I was not a high-risk pregnancy and these office visits exceeded the
standard of care. During these regular visits, I had routine lengthy breast exams and vaginal
exams every visit, even throughout my pregnancy. There is one horrific incident, two days
before I gave birth to my first-born son, that continues to haunt me.

On                            at approximately      , at the Columbia OBGYN office located at 51
W 51st St, New York, NY 10019 Hadden inflicted pain and harm on me during a routine exam. I
went to the appointment with my husband at the time, now ex-husband. I was 40 weeks
pregnant. While I was waiting for Hadden, my mucus plug dropped in the office-room
bathroom. My ex-husband and I were thrilled that we were closer to the birth of our first child.
Hadden entered the room without a nurse present and looked excited. I thought Hadden was
excited about the birth, but perhaps it was his excitement at an opportunity to inflict pain.
Hadden escorted me behind the curtain away from my husband’s view. Hadden proceeded to
give me an exam under the guise of checking my cervix. That’s when it happened. He forcefully
used his hands, forced his fist inside my vagina, and physically harmed me. It felt that he was
ripping me apart and tearing my insides, lifting me off the exam table. This led me to scream
and cry out in pain. Soon after, Hadden abruptly left the room and never returned.

My ex-husband heard me cry out in pain and came over to comfort me. He noticed that I was
triggered by the incident and was concerned. He asked me “Are you o.k.?” I told him that I was
in a lot of pain. The pain Hadden inflicted on me was more intense than labor and childbirth
and I gave birth without an epidural. My ex-husband asked “Do you feel violated?” I answered
“Yes”. I felt violated and I was confused because I didn’t know if Hadden was trying to stimulate
the birth. I wasn’t sure if this was a routine medical procedure. Why didn’t Hadden explain to
me what he was doing and that it was going to cause me so much pain? I left the office
confused, violated, furious – and it was emotionally and physically intense and my labor was
imminent.

I got dressed and we left the office, speechless. I couldn’t eat and I couldn’t sit down because
the pain was lingering. I was confused, ashamed, and doubting my own judgement. This was
one of the moments in my life that I tried to erase from my consciousness. The thought that
Hadden sexually assaulted me and could have harmed my baby was so terrible that I repressed
it. Both my ex-husband and I turned our focus to my progressing labor. I gave birth in less than
2 days from the incident with Hadden. Hadden did not deliver my son because he was not on
call during my birth. His name does not appear on the birth certificate. However, after the
incident, I continued to see Hadden for postpartum care.

The expert witness on sexual assault trauma during the court session, helped me to understand
why I went back to Hadden after he sexually assaulted me. Hadden assaulted me during one of
the most beautiful moments of my life, during my labor and moments before I first met my son.
I repressed the assault and trauma. I wanted to preserve the beauty of my birth story, but the
reality was that it was associated with pain, violence, and sexual assault by a doctor whom I
trusted. When I decided to speak out publicly, I told my 11-year-old son that his mom was hurt



                                                                                  Exhibit B at 20
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by someone years ago, that he’s no longer a threat to our family, and that he will be sentenced
to prison. I explained that mom has to use her voice to advocate to make sure that something
bad like this will never happen to girls and women. If Hadden receives the maximum sentence
then he will never be able to commit sexual assault and physical harm on others. This will
ensure that this will never happen again.




                                                                                 Exhibit B at 21
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                                                                                           Exhibit B at 22
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                                                                                                                                                   Exhibit B at 23
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I wonder what joy he stole from me and my family as I have tried so hard to bury my secrets.
No one will ever be able to measure what he took from me but I can tell you it’s significant .

My goal is to get to the place where I can say the shame is on the defendant and not me but I’m
not there yet. That’s how I know I still have healing to do. I still feel like “I should have known,”
“could have,” “why didn’t I?” and on and on.

Today, I continue to try to reconcile the full impact his abuse had on me. It’s a difficult journey
because I do need to wake up, put on a happy face and go about my day. I can’t be a victim all
day long. But balancing Mom, wife, career, sister, aunt, friend and every other role I am thrust
into on a daily basis is difficult enough, I should not have not have to manage the after effects of
“victim” as well because I chose what I thought was going to be exceptional health care. Shame
on Columbia for turning a blind eye to what they knew was happening and to the defendant for
abusing his power and hiding behind a white coat.

Thank you for your time and efforts in this case.




                                                                                     Exhibit B at 25
                   9LFWLP,PSDFW6WDWHPHQW9LFWLP
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Victim Impact Statement

To Judge Berman:

It is still unbelievable to me that a convicted sexual predator touched my body. And it is

still unforgiveable to me that Columbia Presbyterian Hospital allowed Robert Hadden to

remain on its staff for as long as it did, knowing what this monster was doing. I will

forever have to live with the memory of Hadden’s dimly lit office, his face, his grin, his

voice, his hands, his nasty, inappropriate behavior. Get over it? Doubt it. Because of

Hadden, I will never, ever again seek OB-GYN services from a male physician. In fact, I

am now uncomfortable and wary when alone in any exam room with any male

physician. I will forever question the doctor. I will forever question the hospital.



I, along with Hadden’s other victims, have waited a long time to see justice served. His

sentence must provide just punishment for the vile, horrific offenses he committed. He

does not deserve leniency, mercy or compassion. He will always be a threat to any

community. For this reason, he needs to be removed from society for as long as the law

allows and no less.



Thank you,




                                                                                Exhibit B at 26
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From:
To:             USANYS-HaddenSentencing
Cc:
Subject:        [EXTERNAL] Robert Hadden Sentencing/Impact Statement
Date:           Sunday, June 4, 2023 10:48:35 PM


6/4/23

The Honorable Richard M. Berman
United States District Judge

Dear Judge Berman,

I am one of Robert Hadden's victims. Thank you for letting my voice be heard in regards to
Hadden's sentencing. I was about        years old when I became a patient of Dr. Hadden's. He
knew I was fairly naive and inexperienced with going to gynecologists as well as with men,
(from filling out the medical paperwork, and the questions I was asked). He preyed on my
inexperience to assault me on the very first visit. He didn't use gloves, (and even apologized if
his hands were cold). I even told my mother about how he didn't use gloves, and she said I
must be mistaken, because they have to wear gloves. When he did breast exams they were for
an extended period of time, (and more like groping). He would put his fingers deep inside of
me and ask me if I could feel it, (it hurt and made me feel uncomfortable). Dr. Hadden also
performed rectal exams on me without my permission, (I thought he was being thorough). I
trusted this man with my health and when I became pregnant with the health of my unborn
child. Judge Berman, I worked at Columbia University the same as Dr. Hadden, and he was
brazen enough to abuse me. He would engage patients in small talk during exams to distract
them and to gain trust. When my son was due, if I went home and had sex with my husband it
probably put me into labor sooner. Shortly after my oldest son was born I knew something
wasn't right, and switched to Dr. DeMarco.

The trauma I have endured since then has forever changed my life. I was diagnosed with
anxiety, panic attacks, depression, and PTSD. I have been on several medications since
when I last went to Hadden. It directly affected my marriage which ended in divorce.
Additionally, I ended up leaving Columbia University after working there for nine years.The
fact that Columbia knew about this and let it continue has also traumatized me. I used to tell
people it was the best place to work. Anyone who had a medical problem, I told them
Columbia was the place to go for treatment. I can't even watch a commercial for Columbia
without getting upset. Eventually, I had to sell my home in a short sale. What he did affected
me emotionally, physically, financially, as well as my career at Columbia. Every time I go to
a doctor I'm anxious, (I have trust issues).

Judge Berman, there are hundreds of us that he abused. Some were minors at the time. We
don't get a second chance, we don't get time served, or a light sentence. We have to think
about what was done to us every day. There is no getting away from it. Hadden is 64 years of
age now. There is no rehabilitating him and letting him back into society. I am convinced if
someone prominent didn't come forward about her abuse, he would still be abusing women. I
am so grateful to her.

I would like my name and contact information redacted from any public filing.

Again, thank you for giving me a voice with my impact statement.

                                                                                  Exhibit B at 27
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Sincerely,




                                                                Exhibit B at 28
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As disgusted as I feel writing this out, I want to share two more experiences with you, Judge
Berman. Please bear with me.
After I got married in      , my husband and I hoped to add to our family. I relayed this
information to Hadden at an appointment and he purported to advise me on how to conceive. He
told me it was important to have orgasms. In order to have orgasms, I needed to be relaxed. He
explained this as he internally examined me with his ungloved fingers. This time he used
lubricant. As he assaulted me, he told me, again, to relax. If I could be relaxed enough to have an
orgasm, I would be relaxed enough to get pregnant. He added more lubricant as he explained that
some women try different positions when they try to get pregnant. If a woman is on top, it’s more
likely that the pregnancy will be a girl. If the woman is on the bottom, a boy is more likely. The
assault continued throughout.
At another appointment I attended with my husband. I was newly pregnant. We waited to see the
doctor for more than an hour. My husband struggled to understand how it could take so long. I
was used to the delay and told him this is just what it’s like for an in-demand doctor like Hadden.
We finally got into an exam room where Hadden conducted an internal exam. I don’t know what
the purpose of the exam was, but he didn’t wear gloves. As Hadden assaulted me while my
husband stood in the room, my husband asked, “No gloves?” Hadden turned his head to the right
and told my husband that some doctors wear gloves and some don’t. It’s a preference thing, he
said. For some reason, we felt like this answer was sufficient and that somehow this meant that
he was a less stuffy doctor than others.
The result of seeing a doctor so skilled in grooming and perpetrating sexual assault is that there
are things he told me about my own body that I don’t know if they are true or not. I don’t know if
I have a tilted cervix that makes giving birth riskier and puts me at higher risk for cervical
cancer. Even more dubious, I don’t know if certain sexual positions potentially are more onerous
on my body. I don’t know if my husband and I are very fertile as a couple, as he told us. I don’t
know if I have rough breast tissue that should be kneaded painfully in breast exams. These aren’t
questions I’m ready to ask another physician because I’ll never trust whether I’ll get a real
answer or if even the questions themselves are relevant. My framework for what is or isn’t
appropriate is skewed. And I think that’s part of what Hadden really loved. I don’t fully trust my
instincts anymore, or at least I worry that I can’t. He took that away from me because he needed
to make me think that my instincts were wrong. He did this over and over to hundreds of women.
He’s very, very good at this.
What I find incredibly tragic is that he could have just been a real doctor, providing valuable
healthcare to women. He could have used his education, knowledge and position to bring life
safely into this world and to guide women and their loved ones at their most vulnerable. Truly,
what a waste. We represented opportunities to him. I fear it will never be clear how prolific of a
monster he was. I fear that every woman or girl who has ever crossed paths with him has been
prey.
In sum, this person is monstrous.
Respectfully,



                                                                                    Exhibit B at 31
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                                                           Exhibit B at 32
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VICTIM IMPACT STATEMENT OF

To whom it may concern, the following is an account of my experiences in relation to former
gynecologist Robert Hadden while he was under the care of my wife,

I began accompanying my wife to her gynecological appointments and exams at Columbia University
when we began to discuss family planning. Robert Hadden was consistently very late to these
appointments. He would routinely take us into his oﬃce over 90 minutes and sometimes over 2 hours
after our scheduled appointment time. As a working professional, taking that much time out of my day
was detrimental to my job performance. While, I attended my wife’s early appointments, his constant
tardiness forced me to not be able to attend later appointments, which I believe was by design; to get
me, her trusted spouse, out of the examination room.

During our first several appointments, Robert Hadden directly asked me if my wife was experiencing
orgasms during intercourse. This struck me as very strange. I had never had a medical professional ask
about sexual gratification as it relates to pregnancy. I engaged in this discussion with him, in front of my
wife, because he was the person of authority. We both wanted to do what we could to bring a child into
this world. I felt embarrassed and surprised by his line of questioning, especially when he brought up
particular sexual positions we should try. I questioned my own negative reaction and thought I should
have a more progressive viewpoint.

Following one of these conversations, Robert Hadden examined                in his oﬃce. I immediately
noticed he did not put gloves on for the internal examination. I asked him why and he replied that gloves
were unnecessary and hindered his ability to feel things properly. I again felt a sense that I shouldn’t be
feeling strange about that, that I should trust her doctor. When he finished his internal examination he
did not wash his hands immediately. He sat there talking to us. I kept looking at his hands as he spoke,
which he noticed, and he finally moved to the sink where he washed his hands.

This red flag moment will forever be etched in my mind as the moment I should have stepped in and
realized there was suspect behavior happening. The late appointments, the sexual conversation, the
lack of care for sanitary conditions, and the overall psychological power plays. All of these things set
Robert Hadden up for future abuse of my wife.

I am certain that the severe postpartum depression           suﬀered was directly linked to Robert
Hadden’s abuse. What kind of repercussions my newborn son faced as               began her journey as a
new mother recovering from this abuse, I will always wonder. Would his life be set on a diﬀerent path
had we had a doctor that respected human life? In the following years our marriage suﬀered from a
certain unexplainable darkness. Something deep inside            was diﬀerent. When she became
pregnant with our second child, she would not even consider giving birth in a hospital. To her, hospitals
represented establishments that did not take into account the health and well being of the mother. Our
second child was born at home with a midwife. I didn’t fully understand her hesitation to give birth in a
hospital until Robert Hadden’s name began to appear in the news during his first arrest. That began a
long journey for both of us, to understand what occurred at Columbia University in NY.

The impact Robert Hadden had in my family’s life can not be measured. He created pain, suﬀering, and
psychological damage that spanned over a decade and continues to this day. We will never be free from
his actions as long as we live.


6/1/2023




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To: The Honorable Richard M. Berman, United States District Judge

From:

Dear Your Honor,

Thank you for allowing me the opportunity to write this letter. I was able to
write a letter to you advocating that Hadden be sent directly to jail after his
hearing and the writing process ultimately offered a lot of healing for me. I
got my first good night’s sleep in months after writing that letter. I can only
hope that this victim’s impact statement will provide me another opportunity
to heal a piece of my soul. These letters and opportunities are so important
for victims. I didn’t truly realize until I became one, the importance of being
able to speak my truth. Thank you for listening and letting us have a voice
and be heard. It means much more than I can put into words. As difficult as
writing this letter has been for me, I know that it’s an important part of my
healing journey.

I was fresh out of college, in my early 20’s and living in New York City when
I first met Robert Hadden. A work colleague referred me to someone who I
thought was a prestigious OBGYN Dr. affiliated with Columbia University.
Everyone seemed to have nice things to say about him and at the time I felt
so fortunate to have found him.

Little did I know that I would make an ideal patient for him to victimize. I
had next to zero experience of what an OBGYN exam would entail. I was
young and incredibly innocent and just barely pulling in enough money to
survive on my own in NYC. Free birth control pills were appealing, and this is
what he would use to lure me back to his office time and again for what I
later would find out were unnecessary and not normal visits.

It’s incredibly painful to know that Hadden saw all of that and chose to
exploit me for his own sexual gratification. He abused the Dr./Patient
relationship through manipulation, lies and sexual assault. He knew that I
didn’t know any better and most likely would not have the courage to stand
up for myself. He also knew he had a prestigious institution backing him up
that didn’t even care to acknowledge all the atrocities he was committing.
They were allowing him to carry on with his abuse of patients by
continuingly looking the other way and failing to investigate allegations.

As an adult I would later come to see the harsh truth, that I had been
groomed by Hadden during those OBGYN visits. All those little red flags that
had set off questions and emotions in my body and brain had laid etched in




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my memories and would eventually flood back to to haunt me once I was a
grown adult woman with young children of my own.

The manipulation and grooming took place in his private office where he
would share intimate details about his family and life with me. In turn he
would often ask me inappropriate sexual questions about my sex life. Taken
a back at these questions, I remember thinking that I should just answer
because he probably asked these questions to all his patients and everyone
else probably answered them. I didn’t want to be difficult or non-compliant
and maybe this was just part of what a visit to the OBGYN entailed? So as
squirmy and uncomfortable as I felt and after a long pause, I proceeded to
answer him. I know now that he was just seeing how far he could push me
and how much he could get away with. Coercing me into thinking that that
these types of questions were normal and a routine part of an exam.

The grooming led up to the gross atrocities that took place in the exam
room. I would think to myself that I must be imagining things or must be
mistaking things or even wondering if this was just part of what happens in
a normal exam and that I probably shouldn’t question it. I mean after all he
was so nice and caring to me in his private office – there is just no way that
what I thought was happening could be happening.

I had my nipples twisted and pinched during lengthy breast exams while he
stepped back and stood there and watched them erect. I remember wanting
to throw my own hand over my chest and feeling so embarrassed at what
was happening. I was examined twice during most exams - first with a pair
of gloves and then a gropy lengthy one without gloves. Which I now know
was sexual in nature and not for the benefit of my health in anyway shape or
form.

Hadden would perform full body exams on me where he checked my entire
body over for moles. I am embarrassed now to think that I was even
grateful at the time for those exams because I thought he was so generous
to do this as he was saving me money and time, so I didn’t have to see a
dermatologist. He was so invested in my health I thought at the time. Little
did I know that he was never thinking about my health during my medical
exam – only how he could exploit me for his own sick needs. Here I was
walking into a Dr’s office to make sure I was healthy and well and all I was
doing was walking into a sick sexual abuser’s office so that he could
manipulate me and sexually assault me all while I told myself I was wrong
and imagining things.

The worst of all of it, that haunts me on a deeper darker level is when he
licked my vulva in the exam room. I remember lying there freezing like a



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deer in headlights and thinking – no, there is no way that just happened,
you must be imagining things he was just in his private office telling you
how much he loves his wife. I remember sitting up to look around the room
for a nurse so that I could look at her and be like – did this just happen?
But, as usual – there was no one else in the room. Just me and him with a
smirk on his face. I told myself that I must have imagined it and that there
was no way a Dr. would do that. I told myself I was wrong, and I pushed it
from my mind. The truth was there, and many years later everything would
come to light.

The young and naïve girl that I was had no clue that I had been groomed
and that all of this in fact was NOT a normal part of an OBGYN exam. Mostly
because I told myself, oh maybe it just feels like he doesn’t have a glove on,
but he must have a glove on – you are just imagining things. Or maybe that
is a necessary part of the exam since they can’t feel for certain things with
gloves on? It’s so hard to even write this and not get upset with that young
girl. How could she dismiss her instincts? Did the grooming have that
powerful of an effect that I truly told myself I must be imagining this? This is
a piece that I continue to work on, and I believe will work on for the rest of
my life. While there is sympathy that is there for that girl, there is also
something in me that wants to slap her awake and tell her to wake up and
see what was happening and get the hell out of there. It’s hard to let all that
go, those images and memories will always be seared into me. It doesn’t
matter how much work I do. It’s still painful.


I feel so sad for that young girl who ignored her gut instincts and who told
herself she was wrong. I would like to think if it wasn’t a Dr. I sure as heck
would know it was wrong but being in his office made it all so confusing. He
was an authority figure and at the time, I can’t imagine myself having a
voice in that exam room. As an adult it’s easier for me to know the woman I
am today would know what he was doing was wrong, but that little girl in
the room – she just didn’t have the life experience at the time to be able to
understand and call him out for the sexual assaults he was committing.
Instead, she silenced herself and told herself she was wrong and imagining
things. That there was no way a Dr. would do something like this.

Thankfully for me – the universe happened to save me when my fiancé got a
job in              not long after that very worst incident in the exam room
and we decided to move. I remember being nervous to tell Hadden I was
leaving his practice and then asking myself why was I so nervous? I think
my body was starting to figure out that there was something weird and not
normal going on – why would a Dr. even care if I was leaving – after all he
had so many patients.



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I headed to his office to pick up the birth control pills and as usual he was
out in the waiting room waiting for me. He handed them to me directly and I
let him know that I would be moving in another few months. The anger and
steam that came across his face was something I had never seen or felt
before. He turned mad red, and I could literally feel the seething anger and
hateful energy off him – I felt as if he wanted to rip the pills right out of my
hands or scream at me that I couldn’t go.

He knew I felt his energy change because my face and body language
immediately changed to become defensive as if it was clicking for me that
our relationship had not been right. However, he noticed that I was taken a
back and he just as quickly turned on his “other” personality and became his
charming self. That was when I knew something was not right and I walked
away with a gut feeling that day that I had just been saved. I wasn’t sure
exactly of what, but I knew deep in my soul.

In the coming years I really didn’t let my brain dig too deep or question
further what might have happened in Hadden’s office. There was no need –
I was in another state now I thought, and I had moved on with my life. My
mind pushed it aside however, my body kept score. I made mental notes as
I had exams in my new state things like. 1. That was a quick exam, or 2.
That seemed impersonal. Or, 3. my nipples were not pinched or twisted – I
wonder why not – is that not part of an exam – did they skip a part? 4. Most
of all I wondered why there was always a nurse in the room when exams
were done. Is this a normal thing – there were never nurses with Hadden in
the exam room. 5. The exams were drastically far less invasive, and gloves
were always used. For many years I wondered if I was receiving a proper
exam since they were so vastly different from what I had been receiving in
NYC.

I was conditioned by an early age to think that OBGYN exams were
something that they in fact were NOT at all. I realize now that I was
undergoing a sexualized exam that included so much sick behavior it’s hard
to comprehend. As a young kid, I thought that I had to lie there and endure
whatever they needed or wanted to do to me for medically necessary
reasons that were not in fact necessary at all. I think I carried this
compliancy with Dr’s all through my 20’s and 30’s until I uncovered deeply
what was done to me and my behavior of disassociating from my body
around anything medical or anything having to do with authority figures.

Some 20 something years later in my 40’s I happened upon an article in
People magazine about Robert Hadden being convicted for sexual crimes on
his patients. This is the day that changed everything for me, and it felt like
walls were caving in around me. I read the headline, saw the picture and I



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knew! I began shaking – it was if everything that my brain had somehow
knew became valid and true – it wasn’t all in my head after all. I wasn’t
alone. This was also the first time in my life that I would experience a panic
attack. It was a dreadful night and there were only going to be more of
those nights as I began to sift through the truth of what had been done to
me and what had been buried deep for so many years.

It’s sad to think that sometimes I wish I did not even read that article or had
any idea all the awful things he has done to patients over the years because
I could have gone on living my blissfully naïve life. I haven’t been the same
since reading that article and while I know I needed to read this and find out
the truth, it’s still hard to feel like the rug has been pulled out from
underneath you and with the snap of a finger the entire way you viewed the
world has change. I also realized all the ways I was disassociating from my
body over the years were a reaction to what had been done to me so many
years ago. It had changed my way of being in the world on a subconscious
level.

If you haven’t been the victim of abuse, it might be easy to think how can
something that happened over 20 years ago have such a grip over you? One
might be inclined to think – just get over it and move on, it happened so
long ago. I probably would have thought that myself, but unfortunately for
me, I can tell you know that it’s not the way it works.

These memories live inside us and are stored there – especially when things
were unusual that you might have questioned. That article put me back in
his office as if I had been there yesterday. Gradually over weeks and months
I would have vivid flashbacks of being back in that exam room and the
things he had done to me and the look on his face after he did them. I know
all those memories were there the entire time – hidden away (the brain is a
marvel and I realized this more than ever after experiencing this), because
at the time there were little questions going off in my brain which I was too
young to act on and instead ignored. It’s almost like going into a filing
cabinet and pulling out the exact file with all the memories from those days
that my brain had been storing - and I was now having to relive these
graphic memories repeatedly. Because I had never properly processed the
trauma, each day brought more vivid memories and opened more pain. I
had to figure out how I was going to move forward with all this built-up
emotion and pain that had been ignored for so many years.

Since coming to terms with the abuse I suffered in Hadden’s office, I have
developed insomnia. These very vivid flashbacks and memories have led to
so much anxiety for me that I couldn’t sleep and for several months I was
only able to sleep 2-3 hours a night – lying in bed for endless hours anxiety



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ridden and tormented. I was literally starting to lose my mind and that’s
when I sought out help through a therapist. Thousands of dollars later I was
able to work through some of that pain, but I hit a wall with talk therapy and
it just stopped working for me at a certain point. I still suffer insomnia from
time to time- it’s an ongoing battle.

It's been difficult to trust the medical system and Dr’s. I recently had to go
for an exam, and it brought up so much pain and anxiety for me. Going to
the Dr’s is now an entirely different experience – it’s hard to not relive the
trauma over when I am in an OBGYN’s office.

I have also been working on learning to love that 20 something year old girl
and stop wishing she would have done something different – something I
would have done at the age I am now – which is know it was abuse and
report it. She did what she could at the time with the knowledge that she
had, and I know that it’s not her fault. It’s been a hard road to stop hating
myself for not knowing better at the time. I pride myself on being strong and
tough and I thought I always was but looking back at what happened and
seeing it for what it was – that I was his victim to manipulate and abuse at
his will – it’s just emotionally a lot to handle and try and recover from.

I am a work in progress now trying to move forward. It’s hard when you
think your world was one way, but something was being played out in front
of your eyes that you were completely oblivious to. That’s painful and hurtful
and hard to come to terms with.

My relationship with my husband changed from the moment I read the
article. Honestly, for months I just didn’t want to be touched at all. Not
even by my own children. I didn’t want anyone near me. I sat alone in
silence and in depression and could barely function as a human or get my
work done. Having the insomnia from the situation made it all the worse and
I was just spiraling. I could no longer perform my job my normal hours
because I was running on so few hours of sleep. I just felt like my world was
caving in around me.

I have lost all faith in the medical system. It’s been hard to feel trustworthy
towards any Dr. and to not question if anything else in my life may not have
been what I initially perceived it. A huge mind trip to say the least. The
hardest thing to come to terms with which I honestly don’t think I will ever
be able to reconcile with – is how a prestigious institution like Columbia
could let this monster continue abusing patients after knowing incidents had
been happening since the 9o’s. They covered him up and moved him around
so he could abuse other patients. It just absolutely disgusts me and makes
me have zero faith in our entire medical system. I have so much to say



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about this cover up by Columbia I could write a book, but I won’t since this
is about Hadden and the sexual assaults he committed on his patients. But
know this, by covering up Hadden, Columbia is just as complicit in having
committed every one of these crimes. This institution essentially sat back
and watched the abuse unfold while Hadden committed sexual crimes on
women for over 20 years. I hope the sentence that Hadden receives for his
crimes sends a proper message to Columbia to never let this happen again.
I also hope that it lets all his victims have some peace and closure in their
lives while he sits behind bars where he deserved to be so long ago. Far
away from where he will be able to hurt anyone ever again.

Thank you for the generosity of your time in reading this letter and thank
you for your service to our justice system.



Sincerely,




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I would like to begin by requesting anonymity and ask that my name be redacted from any public
court filings. I would also like to thank the court for the opportunity to submit a victim impact
statement.

My name is                  . I just turned 4 years old and currently reside    . It’s been
extremely hard for me to share this with anyone but I am a victim of Dr. Hadden’s abuse and
Columbia’s negligence.

Dr. Hadden became my doctor in my early twenties after my co-worker recommended him. He
had been my co-worker’s doctor for a few years and since she was a little older than me and
someone I looked up to in the office, I trusted her recommendation. Before I went to see him for
my first appointment, she gave me the heads up about his style as a doctor. She said he was a
great doctor but he does ask questions that can make some women feel uncomfortable but it’s
because he is thorough. She made it clear that sometimes sexual questions do come up but it’s
because he just wants to make sure his patients are healthy physically and mentally. At this point
in my life, I had only been sexually active a short time and had no idea what kinds of
conversations a gynecologist has with their patients. I also didn’t want my co-worker to think
that I wasn’t mature enough to handle a conversation like that with my doctor so without
question I kept my appointment. Now that I am older and wiser, I realize that my co-worker,
unknowingly, had been groomed by him. One of the things that I often think about is how many
other women were groomed and then recruited more victims by recommending him, including
myself.

My initial visits were fine. Nothing seemed out of the ordinary except for that fact that every
time I saw Dr. Hadden and was examined by him there was never a nurse present. After a while,
Dr. Hadden eased into the subject matter that my co-worker gave me the heads up about. Behind
closed doors, with just him and I present, and while examining me, he would say things like,
“You know, the way you are shaped internally, having sex with your partner behind you would
be the most comfortable.” I would immediately freeze up when he would make comments like
that but immediately do my best to try to mentally calm down by reminding myself that he is a
well trusted doctor and he is trying to arm me with helpful information. However, after every
visit, I would often find myself replaying the words he said to me in my head, over and over
again, and unable to sleep for days.

For a while, my office visits with Dr. Hadden became an issue with my boyfriend (now my
husband). I told him a few of the things the doctor had said to me and right away he said that the
doctor’s comments weren’t okay. He and I would often argue about it because he wanted me to
not see him anymore and I would argue back that he was just being “thorough” just like I was
groomed to do.

I tried to convince myself that everything was fine and continued to keep him as my doctor for
many years, despite the shame after visits with him. After a while, he introduced a new phase of
his abuse that would have the biggest impact on me. On one office visit, I was pregnant with my
second child. After seeing a nurse, I was told that I would not be fully examined by the doctor




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but he wanted to still meet with me. As always, the nurse left us in the room alone and at first
everything seemed fine. Dr. Hadden just spoke with me without saying anything inappropriate
but just when it seemed like he was about to leave, out of nowhere he asked if my breasts were
sore. Before I had a chance to answer, he asked if I still had any milk? I was completely
shocked and surprised by the question. However, before I had a chance to say anything, Dr.
Hadden aggressively pulled down one arm of my gown and violently squeezed one of my
nipples. It hurt really bad and I was completely flabbergasted that he did that to me. While doing
it, he didn’t even look like the same man I had known for years. In that moment, he turned into a
monster, with no self-control and physically hurt a pregnant woman. Just as quickly as that
monster came, suddenly he became Dr. Hadden again and before walking out the door, he simply
said, “Yes, you still have milk”. It took me a while to come out of that examine room. I couldn’t
believe what happened and I didn’t want anyone to see me in that state. That particular day, I
had seen Dr. Hadden was on my lunch break. I cannot express how much pain and shame I felt
on my walk back to the office. For years, I didn’t share the incident with my husband because I
was extremely embarrassed about that encounter especially because my husband had already
expressed his feelings about Dr. Hadden and I believed I was partly to blame.

It took years for me to realize that Dr. Hadden took advantage of my inexperience. He was a
renowned doctor that I trusted. He used his role at the practice inappropriately, and
subjected me to vile sexual language and eventually assault. I have no doubt, that a few of my
encounters with him will forever haunt me. However, I can’t just blame Dr. Hadden, I also hold
Columbia responsible for what myself and other women endured. At least one victim came
forward before I was ever his patient. Despite other victims coming forward, allegations were
never communicated to me by the practice. I remained his patient until 2012, I believe. At that
time, I was contacted during my third pregnancy and told that I needed to temporarily choose a
different doctor. The practice never gave me an explanation why I needed to make the change.
To this day, despite being a long-time patient of his at the time, no one at the practice has ever
asked me about my experience as his patient.

After I began hearing the allegations from other women who were patients, I knew they were
telling the truth. So many things they accused him of had also been done to me. However,
because of my own shame and embarrassment, I wasn’t able to talk about it for years. After
seeking help for my trauma through therapy, I am now able to stand strong with other brave
women and make sure Dr. Hadden is held responsible for the damage done to so many victims.
In return for his crimes, I plead with the court to take away Robert Hadden’s freedom for good.

I also wish to express my sincerest gratitude for allowing this opportunity of expression.

Respectfully submitted,




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                                                                                  Exhibit B at 45
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May 26, 2023


Your Honor,

I am submitting my Victim Impact Statement to you and the court, and wish to remain
anonymous and have my personal and contact information redacted in the public
record. I wish that I was able to attend the proceedings in court and to stand in
solidarity with Robert Hadden’s other sexual assault victims, but I cannot bring myself
to sit in the same room with him.

I am not sure I yet fully understand the extent to which Robert Hadden has impacted
my life as well as the lives of my family members. A sustained, serial sexual assault
over approximately fifteen years, wrapped in the guise of a Columbia University Ob/
Gyn exam protocol, has proven to be a traumatic, life-changing experience on a
number of deep levels.

We learned, somewhat recently, about Hadden’s “modus operandi” from a New York
Times article. The full horror of what had happened to me, revealed itself slowly, and
then suddenly overwhelmed me as I gained more detailed information about Hadden’s
sexual assault crimes and Columbia’s eﬀorts to shield their institutional reputation by
doing their best to sweep numerous complaints of sexual assault by him under the rug.

The physical impact of Robert Hadden’s conduct is staggering and traumatic. As I
brought myself up-to-speed on the manner in which Hadden groomed then assaulted
his patients, I realized to my deep horror, these same methods had been employed on
me over a span of approximately fifteen years. Horror sweeps through me whenever I
see Hadden’s name on all three of our childrens’ birth certificates. My only solace is
that he never had a chance to sexually assault our daughter.

Emotionally how have Hadden’s assaults made me feel?

The realization that a sexual predator brought my precious children into the world is
highly disturbing to me. Many of my most treasured memories of pregnancy and
childbirth have now been hijacked and reclassified in my mind as sexual assault
trauma. I am working hard to restore these cherished memories back into their rightful
place in my mind, but that eﬀort has been painful, time-consuming and costly.

I feel enraged at the realization that Robert Hadden not only assaulted me at my most
vulnerable time, but equally ghastly is the fact that he put the well-being of our unborn
children at risk. I will never forgive him for that for as long as I live. I am equally enraged
that Columbia would shield a sexual predator for nearly twenty years in an eﬀort to
maintain their reputation, with complete and utter disregard for the well-being of their
patients and their own medical charter.




                                                                                Exhibit B at 46
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Another unfortunate well of feelings that this trauma has provoked within me are those
of shame. Shame for not having better antennae to recognize what was happening at
the time. Shame for thinking we were friends, when in reality, I was being groomed by a
sexual predator. I now realize Hadden had the perfect ruse as an Ob/Gyn doctor at the
prestigious Columbia University. I trusted that by being a patient at the famed
Columbia University, I was receiving the best and most thorough care available for me
and my unborn children. I trusted that Hadden was being screened, supervised and
governed to provide that “best” care. How trusting and naive I was. A traumatic,
burning lesson indeed.

This deep trauma has transformed into a cascading emotional contagion within my
mind, a trauma that has aﬀected how I process my feelings relating to my pregnancies,
the births of my children, my trust in doctors, medical and governmental institutions,
and more. It has aﬀected my current ability to feel mentally strong enough to eﬀectively
support those close to me in times of need. I have kept what happened to me mostly
private because I do not want to transfer this trauma to those whom I love, and pollute
more minds than need be. I feel strongly I must contain this. My husband has felt deep
anger and shame that he could not protect me and our children from Robert Hadden.
He has stepped in and has provided support for our kids in ways I usually do, as I felt
too emotionally depleted and withdrawn. On a daily basis now, I work hard just to
appear normal and balanced.

For the first time in my life, I have had to seek mental healthcare. I was advised by a
mental healthcare provider to seek treatment for trauma. I immediately followed up with
the recommendation and have been undergoing trauma treatment. Obviously there is a
financial component associated with this, as many of the most qualified mental
healthcare providers operate outside of our insurance policy network. It takes time,
energy and money away from my family and from my life’s purpose to do good in this
world.

Your Honor, I am sure you understand that there are many Robert Hadden victims who
wish to remain anonymous for a variety of reasons, who are watching justice being
served from a distance, who have been hurt just as badly as some of those who will be
sitting in your courtroom. I am one of them.

I thank you from the bottom of my heart for considering and acting upon Robert
Hadden’s victims’ statements at his recent bail hearing, and sending him straight to
prison while he awaits his sentencing. He has earned this, and deserves to spend a
considerable amount more time in prison with people of his ilk.

With respect, and appreciation for your consideration,




                                                                          Exhibit B at 47
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                                                                                   Exhibit B at 50
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      Case 1:20-cr-00468-RMB Document 296-3 Filed 06/20/23 Page 52 of 70


From:
To:             USANYS-HaddenSentencing
Subject:        [EXTERNAL] Victim Impact Statement
Date:           Thursday, June 1, 2023 10:37:43 PM


Note: I would like my name and contact information redacted from any public filing!

Your Honorable Richard M. Berman,

The words you are about to read do not come close to expressing the trauma that Dr. Robert
Hadden has inflicted. What’s worse than the trauma is the guilt. The guilt of a mother for
putting her preteen daughter in the hands of a monster. And to add to the pain and trauma, is
the fact that Columbia had full knowledge, and they failed to take action. At the time that I
was a patient of Dr. Hadden’s I trusted him. I went through a divorce while being his patient
and his comments were often unprofessional, and his lewd conduct in removing his gloves
under the auspices of medical necessity, was downright traumatizing. But the worst part was
not only did I lose trust in male doctors, but so did my daughter. As a single mother, my only
objective in life was to keep my children safe, and to teach them to make the best decisions
they can. I failed my daughter. I had no idea I put her growing body in the hands of a monster.
She has been traumatized after having to remember how he made her feel. She recently spoke
to me about what Doctor Hadden did and how as an RN, which she went on to become, his
behavior went against everything she learned. Columbia‘s inaction proves that they are such a
powerful institution that they do not have to regard the safety and well-being of their patients.
 And can get away with it. She said she would never practice nursing for an institution like
that. I have had the burden of financial strain, paying for therapists, as a result of not trusting
neither men, nor institutions. And as a single mother of three young girls, at the time of Dr.
Hadden’s assault on both me, and one of my daughters, the guilt will always haunt me. He
failed me, Columbia failed me, but ultimately, I failed my daughter.

Thank you for your time and attention.




                                                                                    Exhibit B at 51
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                                                           Exhibit B at 53
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Victim statement
My name is                    and I am a victim of Robert
Hadden. I grow up in a low-income neighborhood with
high crime and drug-populated areas. I grew up having
to be strong and protect myself every day from many
negative situations throughout my life. I had to look
strong and act strong to protect myself from being a
victim and another statistic. I would never have
imagined that a doctor would have been my
perpetrator. The one place where you are supposed to
be vulnerable and exposed to be healed is where I was
violated. He was skillful in manipulating me to not trust
my instincts. Every time I questioned his abusive
techniques he would have a health crisis excuse, just
relax I am checking for CANCER. A diagnosis no one
wants to get or hear to have. Now, I make sure I only
see female physicians for my PCP and GYN
appointments.

I went through so much growing up protecting myself
from crime, gangs, and drugs but could not protect
myself in an institution that is built to protect and heal.
For NY Presbyterian to turn their heads and ignore to
protect their employees and patients is despicable,
disgusting and violates all of what healthcare stands
for.


                                                               Exhibit B at 54
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Robert Hadden, I hope you get what you deserve for
putting us through embarrassment and feeling
unguarded. Now, I am always being suspicious of my
healthcare providers because of you. I hope you will
get the opportunity to think about your actions behind
bars. Satin is holding a seat for you in hell.




                                                              Exhibit B at 55
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                                                  May 30, 2023



Your Honor,

I present this statement before this court today to address the deeply disturbing and reprehensible
actions of Dr. Robert Hadden, a gynecologist who has been found guilty of sexually abusing multiple
patients. The severity and magnitude of Dr. Hadden's offenses necessitate a comprehensive and
unequivocal response to ensure justice is served and we, the victims, are given the opportunity to heal.

The evidence presented during the trial has clearly demonstrated the extent of Dr. Hadden's misconduct
and the devastating impact it has had on the lives of his patients. The testimonies provided by the brave
survivors have shed light on the systematic abuse and violation of trust perpetrated by Dr. Hadden over
an extended period of time. It is crucial to recognize the immense courage it took for us to come
forward and share these traumatic experiences, often reliving our pain in pursuit of justice.

The court must consider the profound and lasting harm inflicted upon the victims by Dr. Hadden's
actions. Sexual abuse is a heinous crime that not only violates an individual's bodily autonomy but also
undermines their emotional and psychological well-being. The breach of trust by a medical professional
in a position of power exacerbates the trauma endured by patients and shatters our faith in the
healthcare system.

In light of the seriousness of these offenses, it is imperative that Dr. Hadden be held accountable for his
actions. The sentencing should reflect the gravity of the crimes committed, serving both as a deterrent
to others in positions of authority and as a validation of the survivors' courage in coming forward.

I respectfully urge the court to consider the following factors when determining the appropriate
sentence for Dr. Hadden:

1. The extent and nature of the abuse: The court should consider the number of victims, the duration
and frequency of the abuse, and the physical and psychological harm suffered by each one of us. I was a
patient of Dr. Hadden for almost 10 years. He was my first gynecologist and I saw him about twice a
year, sometimes more depending on his recommendations. I trusted his actions and decisions during
our visits to have arisen only with my health needs in mind, not his despicable perverted selfish desires.

2. The breach of trust: As a medical professional, Dr. Hadden held a position of authority and
responsibility, which he exploited for his own gratification. This aggravating factor further compounds
the harm caused to the victims. At that time in my life, I had attained my first fulltime job after college
at Columbia University and had my first medical benefits. I was elated to learn about medical insurance
and select the healthcare providers I was hoping to keep for my lifetime. I completely trusted Columbia
University as an institution, I worked for them, went to their doctors for medical care, and then became
their student for a graduate degree in psychological counseling. I was completely blindsided and fully
trusted Columbia University and anything affiliated to this institutions name. This led me to trust Dr.
Hadden blindly during the years I was under his care.

3. Impact on the victims: The court should consider the profound and long-lasting impact of the abuse
on the survivors' lives, including any physical injuries, emotional distress, loss of trust, and the need for
ongoing support and therapy. To this day I have not been able to seek regular gynecological care. I have



                                                                                            Exhibit B at 56
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only sought gynecological care during both my pregnancies and have not been able to maintain a
regular patient/provider relationship with any other gynecologist since Dr. Hadden. Since the day he got
removed from his office in 2012, I have not been to another medical office for any kind of routine visits.
I only seek care when it is urgent or medically necessary. I do not trust health care professionals since I
have learned about Dr. Hadden’s actions.

4. Precedent and public interest: Sentencing in cases of sexual abuse by medical professionals should
send a strong message to society that such conduct will not be tolerated. It is imperative that the court's
decision reaffirms the importance of patient safety, trust, and the ethical obligations of healthcare
providers.

I implore this court to impose a sentence that not only reflects the severity of Dr. Hadden's crimes but
also provides a sense of closure and justice for the survivors. Additionally, I request that the court
ensures appropriate support and resources are made available to the victims as we navigate our path to
healing and recovery.

Thank you for your attention to this matter, Your Honor. Dr. Hadden's actions deserves nothing less
than a just and comprehensive resolution to this distressing chapter in all of our lives.



Sincerely,




                                                                                          Exhibit B at 57
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                                                                     Exhibit B at 58
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                                                                     Exhibit B at 59
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                                                                     Exhibit B at 60
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                                                                     Exhibit B at 61
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                                                                     Exhibit B at 62
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                                                           Exhibit B at 63
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I laid on my back on the examination table with my knees bent and
legs in the stir ups and he instructed that I slide to the very edge of
the table with my rear end hanging off the table and was covered with
a paper drape sheet across my lap. He pulled the drape sheet to my
knees and obstructed my view. He was sitting on a low stool between
my legs in front of my private area.
I am mortified and cringe from the embarrassment of having to relive
my trauma. He proceeded to examine me with his fingers and
pretended that he was looking for any abnormalities.
That is when I felt his tongue very quickly lick my clitoris twice. My
body just froze, and my heart dropped. I stopped breathing and
waited for my body to react and jump off the table. He quickly felt my
tension and started to inform me that he saw nothing and started to
touch around as if searching for any vaginal lesions. It felt wet from
the lubrication he had on the speculum he inserted inside me to
obtain the vaginal swabs. He very quickly finished the exam and
abruptly left the room.
So many thoughts and confusion quickly went through my mind and
body. I was in total shock and disbelief. I quickly started to doubt
myself, I trusted Dr. Robert Hadden as a medical professional. Why
would he do something to hurt me. Do I tell someone? do I stay
quiet?
I felt so embarrassed and questioned who was going to believe me. I
am a single mother and did not want to create a chaotic scene at
work if I had no proof, scared of getting fired and to be humiliated or
ridiculed by my peers.
I waited until there was an opportunity and I transferred out of
working in that location. Moving forward I will not see a male
gynecologist and have instructed my oldest daughter to do the same.
My relationship with my husband now of 20 years is aware and we
struggle with certain physical contact in fear of triggering any previous
trauma or any reminders of his vile disgusting touch.




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I have since then         never left an MD alone with a patient
during any physical exam that requires an MD to physically touch a
patient during an exam.
Now, I thoroughly explain to all patients especially women that a
chaperone is required for physical exams, and as patients are
allowed to deny being physically touched by MD if a chaperone is not
present and if they do not feel comfortable to let me know.
I was hurt and held responsible for years for the countless victims;
after that I could have saved from this sexual perpetrator. I also
witnessed a teenager’s mother being coerced in his consultation
room that a vaginal exam was necessary to be performed on the teen
and the teenager was also being reluctant. I continued working and
triaging patients. It took at least 15 minutes of convincing before the
teenager agreed.
He then sent me to do a task that would require me to walk away so
he can take advantage and exam the teenager. He instructed the
victim’s mother to stay in his consult room while he examined the
teenager alone. Upon my return the teenager came out of the exam
room with her head down and arms folded across her chest as if
ashamed and would not make eye contact.
This incident was before my personal traumatizing exam. I look back
with guilt and shame for not speaking up for all the other victims after
me. I often wonder how that teenager and countless other victims are
doing with life and what negative effect or impact on how and which
way the experience traumatized them.




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Your Honor, I am demanding justice for all these courageous women
whose voices you have heard. These heroines who are speaking up
for victims like me who are too afraid to relive trauma.
I am asking for justice for all the women and myself that he victimized
and took advantage of by becoming a medical professional, in which
he betrayed the trust and created an unsafe haven for his victims.
This monstrous, calculated creature Mr. Robert Hadden who set off to
become a healthcare professional as an Obstetrician / gynecologist to
purposely hurt and abuse pregnant women to take advantage and
sexually molest and prey on innocent women and minors of all ages,
race and social status.


I am respectfully asking for my identity to remain private. I wish to
remain anonymous. I am aware that the defendant and lawyers will
have access to this statement, and I want my Victim Impact
statement letter used towards his prosecution.




Respectfully,




                                                              Exhibit B at 66
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 “How could you have molested me when I was so exposed. we were alone in the exam room
and you were examining my breasts. you kept your fingers on my nipples for much longer than
necessary. You were playing with my nipples with your fingers. I remember thinking what is he
doing, is he trying to get me excited! This doesn’t feel right. I felt so dirty and ashamed you
then proceeded to do a vaginal exam, and all the time you continued with small talk as if
nothing was wrong.

I also could not understand why at every visit you asked me about my daughter who was your
patient once. The first time I thought how nice that he remembers her, but looking back there
must have been a more sinister reason for asking about her, and when she was going back for
a follow up. it just always made me feel uneasy, whenever you asked. My daughter is smarter
than I. She never went back.

I will never forget how disgusted I felt. I did not say anything to anyone at the hospital because
I thought maybe it didn’t really happen. Maybe it was just me because this wouldn’t, couldn’t
happen at a hospital I have been going to since I was five years old. The hospital, my mother
trusted and then I. how could I talk to anyone about it since I felt such shame and who would
believe me over a Columbia doctor.

I trusted you I was completely exposed and you, as my doctor took advantage of me you
broke the trust, why? You made me feel like I was crazy for thinking you didn’t do anything
wrong….it must be me.

You did everything wrong, and I will never forget the feeling of disgust and shame that I felt.
That repulsive feeling that makes me want to throw up every time I think about it.”




                                                                                   Exhibit B at 67
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I was a patient of Dr. Robert Hadden for over ten years.

On                     , I went to my appointment at his offices in Washington
Heights. I was two weeks away from my due date of                       . Hadden gave
me an exam (with no one else present) that was so rough that I could hardly walk
to my car, and when I arrived at my home in                 , I could barely get out of
the car. I also experienced contractions, and after phoning his office, I was
advised to go back to the hospital. My son was born later that evening, two
weeks early. He had a pneumothorax and an infection, and was confined to the
NICU on a CPAP for a week before he was able to go home with us. I also was
hospitalized for five days with an infection. When I saw Hadden for a follow up
visit, I asked him how I got the infection, and he said it was likely from the exam. I
now know, based on the testimony of his other patients, that he induced my
labor. I always knew that he had a part in my son being born early, but I didn’t
think it could be proved until I heard testimonies from other women.

Hadden also expressed my breast milk at an exam, and had inappropriate
comments about my body and asked questions regarding my sex life.

It sickens me that he was allowed to practice for as long as he did after
numerous complaints were issued against him. Columbia allowed a known
sexual predator to practice freely and did nothing to stop him. I ask that he is
given the maximum sentence.                        , is my son’s birthday, but it’s
also the day that I was sexually molested by a doctor I trusted.

(Please keep my name anonymous. I would actually like to put my name to this
but since it involves my son, I never want him to know this fact about his
birthday.)

Thank you.
Jane Doe




                                                                         Exhibit B at 69
